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                                                 April 4, 2024

Hon. J. Paul Oetken
Thurgood Marshall, United States Courthouse
40 Foley Square
New York, NY 10007

       Re:     Jones v. Combs, et. al, Case No. 24-1457

Dear Judge Oetken:

        We are counsel to defendants UMG Recordings, Inc. (erroneously sued as “Universal
Music Group”), Motown Records and Sir Lucian Grainge (collectively, the “UMG Defendants”)
in the above-referenced Action.

         In connection with the telephonic hearing Your Honor has scheduled for April 9, 2024, we
write to bring to Your Honor’s attention an Opinion and Order issued by Judge Cote yesterday,
April 3, 2024, in the case of Zunzurovski v. Fisher et. al., No. 23-CV-10881 (the “Order”), a copy
of which is attached hereto. In the Order, Judge Cote referred Mr. Blackburn to the Grievance
Committee of the Southern District of New York to address what she found to be a pattern of
failing to comply with his Rule 11 obligations.

        In an observation particularly relevant to the offensively false and salacious accusations
Mr. Blackburn leveled at our clients (only to abandon the accusations after having attracted press
attention, swapping them out for equally false accusations), Judge Cote specifically stated:

       A reasonable inference from Blackburn’s pattern of behavior is that he improperly
       files cases in federal court to garner media attention, embarrass defendants with
       salacious allegations, and pressure defendants to settle quickly. Indeed, his
       submissions to this Court have been rife with disturbing allegations against the
       defendants and defense counsel.

     So, too, here are Mr. Blackburn’s pleadings “rife with disturbing allegations” against the
UMG Defendants.

       As the Order states, Judge Cote issued a prior Order on February 15, 2024 requiring Mr.
Blackburn to show cause why Rule 11 sanctions should not be imposed in the case before her. Yet
a mere 11 days later, Mr. Blackburn filed the original complaint in this action (February 26, 2024),
followed days later by the First Amended Complaint (March 4, 2024), and then his several
unauthorized attempts to file a Second Amended Complaint. In every one of these filings or
attempted filings, in patent violation of Rule 11, Mr. Blackburn larded his pleadings with
offensively and knowingly false accusations against the UMG Defendants. And it is clear that he
knew they were false, as evidenced by his having jettisoned in his proposed Second Amended
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Complaint every single foundational accusation he made in the original and First Amended
Complaints.

        In my April 1, 2024 letter to Your Honor opposing Mr. Blackburn’s letter motion to amend,
I specifically noted some examples of the bad faith of Plaintiff and Mr. Blackburn, using an
unauthorized SAC to garner publicity and only then seeking leave to amend. While I was aware
of a pending Rule 11 sanctions motion against Mr. Blackburn in the Eastern District of New York,
and a motion for a “gag order” against him brought by the Fox Rothschild firm, I was not aware
of the matter pending before Judge Cote nor of the other cases referred to by Judge Cote in the
Order.

        It is painfully obvious that Mr. Blackburn believes he is free to flagrantly violate Rule 11
in furtherance of trying to garner press attention for himself without regard for the truth and without
regard for the human consequences of his conduct. We have served Mr. Blackburn with a Rule
11 motion (as I had said we would). But this Court has the inherent power to address Mr.
Blackburn’s conduct, and we believe that Judge Cote’s Opinion and the facts set forth therein are
relevant for this Court’s consideration.



                                                   Respectfully submitted

                                                   PRYOR CASHMAN LLP



                                                   ________________________
                                                   Donald Zakarin

Attachment
